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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                Hon. Kevin McNulty

       v.                                Crim. No. 20-555 (KM)

 THOMAS MANZO                                           ORDER


      THIS MATTER having been opened to the Court by Critchley, Kinum &

Luria, LLC (Michael Critchley, Esq. appearing), attorneys for defendant Thomas

Manzo, and without objection by the United States Attorney’s Office, District of

New Jersey (Assistant United States Attorney V. Grady O’Malley, Esq. appearing),

and for good cause shown:

      IT IS on this 17th day of May 2022,

      ORDERED      that   the   conditions   of   defendant   Thomas   Manzo’s

pretrial release are hereby MODIFIED to remove the $100,000.00 unsecured

appearance bond and permit defendant Thomas Manzo’s continued release

upon the deposit of cash in the full amount of the $100,000.00 bail, via

certified check made payable to Clerk, U.S. District Court.

                                      /s/ Kevin McNulty
                                    __________________________________________
                                    THE HONORABLE KEVIN MCNULTY
                                    United States District Judge

Form and entry consented to:

/s/ Michael Critchley
Michael Critchley, Esq.
Counsel for Thomas Manzo

/s/ V. Grady O’Malley
V. Grady O’Malley, Esq.
Assistant United States Attorney
